UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

x
PAUL SCHULTZ, JEMPATH INC., CARINA’S FINE
JEWELRY LLC and BRICKSTONE BUYING 19-cv-00361
SERVICES, INC., (JS)(SIL)
Plaintiffs,
ANSWER
-against-
THE COUNTY OF SUFFOLK,
Defendant.
x

 

Defendant, The County of Suffolk (the “County”), by and through its attorneys, BERKMAN,
HENOCH, PETERSON, PEDDY & FENCHEL, P.C., as and for its answer to Complaint herein,
alleges as follows:

AS AND FOR AN ANSWER TO THE NATURE OF THIS ACTION

1. The Defendant neither admits nor denies the allegations set forth in paragraph
“1” of the Complaint as no response is required.

2. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of the allegation set forth in paragraph “2” of the Complaint.

3. The Defendant denies. the truth of each and every allegation set forth in
paragraph “3” of the Complaint, except admits that precious metal dealers are licensed by the County
of Suffolk, pursuant to §563-37(A) of the Suffolk County Code.

4, The Defendant denies the truth of each and every allegation set forth in
paragraph “4” of the Complaint, refers all questions of law to this Court and requests leave to refer

to Suffolk County Code Chapter 563 for its meaning, interpretation and legal effect.

5. The Defendant denies the truth of each and every allegation set forth in

 

 
paragraph “5” of the Complaint.

6. The Defendant denies the truth of each and every allegation set forth in
paragraph “6” of the Complaint except denies knowledge and information sufficient to form a belief
as to whether any member of the Suffolk County Police Department ever made an unannounced visit
to any of the Plaintiffs’ stores.

7. The Defendant denies the truth of each and every allegation set forth in
paragraph “7” of the Complaint, and specifically avers that Plaintiffs could ever lawfully acquire
ownership or title to goods determined to be stolen property.

8. The Defendant denies the truth of each and every allegation set forth in
paragraph “8” of the Complaint, except admits that Plaintiffs were provided with a receipt for any
property seized as stolen property, or evidence in a criminal prosecution.

9. The Defendant denies the truth of each and every allegation set forth in
paragraph “9” of the Complaint.

10. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of the allegation set forth in paragraph “10” of the Complaint and specifically avers
that the Plaintiffs could never lawfully acquire ownership or title to goods determined to be stolen
property.

11. The Defendant denies the truth of each and every allegation set forth in
paragraph “11” of the Complaint.

12. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “12" of the Complaint.

13. The Defendant denies the truth of each and every allegation set forth in

 

 
paragraph “13” of the Complaint.

14. With respect to the allegations set forth in paragraph “14"(a)-(c), Defendant
denies that the Plaintiffs are bonafide purchasers of any property seized for them as they could never
lawfully acquire ownership or title to goods to goods determined to be stolen property and further,

(a) Denies the truth of each and every allegation set forth in paragraph
““14"(a) and refers all questions of law to this Court;

(b) Denies the truth of each and every allegation set forth in paragraph
“14"(b) except denies knowledge and information sufficient to form
a belief as to what statements individual members of the Suffolk
County Police Department or the District Attorney’s office may have
made; and

(c) Denies the truth of each and every allegation set forth in paragraph
“14"(c) and refers all questions of law to this Court.

15. The Defendant denies the truth of each and every allegation set forth in
paragraph “15" of the Complaint.

16. The Defendant neither admits or denies the allegations set forth in paragraph
“16" of the Complaint and refers all questions of law to this Honorable Court.

17. The Defendant neither admits or denies the allegations set forth in paragraph
“17" of the Complaint and refers all questions of law to this Honorable Court.

18. The Defendant neither admits or denies the allegations set forth in paragraph
“18" of the Complaint and refers all questions of law to this Honorable Court.

19. The Defendant neither admits or denies the allegations set forth in paragraph

 
“19" of the Complaint and refers all questions of law to this Honorable Court.

20. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “20" of the Complaint.

21. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “21" of the Complaint.

22. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “22" of the Complaint.

23. | The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “23" of the Complaint.

24. The Defendant admits the truth of each and every allegation set forth in
paragraph “24" of the Complaint.

25. | The Defendant admits the truth of each and every allegation set forth in
paragraph “25" of the Complaint.

26. The Defendant denies the truth of each and every allegation set forth in
paragraph “26" of the Complaint, requests leave to refer to Suffolk County Code Chapter 563 for its
true meaning, interpretation and effect and, refers all questions of law to this Honorable Court.

27. The Defendant denies the truth of each and every allegation set forth in
paragraph “27" of the Complaint, but admits that Suffolk County Code §563-37 requires that any
person engaging business as a precious metal and gem exchange establishment obtain a license from
the Defendant.

28. The Defendant neither admits or denies the truth of each and every allegation

set forth in paragraph “28"(a)-(b) and requests leave to refer to the Suffolk County Code upon the
trial of this cause for its true meaning, interpretation and effect.

29. The Defendant denies the truth of each and every allegation set forth in
paragraph “29" of the Complaint.

30. The Defendant denies the truth of each and every allegation set forth in
paragraph “30" of the Complaint, except admits that the Suffolk County Police Department provides
a receipt for any item taken pursuant to a police investigation.

31. | The Defendant denies the truth of each and every allegation set forth in
paragraph “31" of the Complaint.

32. The Defendant denies the truth of each and every allegation set forth in
paragraph “32" of the Complaint.

33. | The Defendant denies the truth of each and every allegation set forth in
paragraph “33" of the Complaint.

34. The Defendant denies the truth of each and every allegation set forth in
paragraph “34"(I)-(iv) of the Complaint.

35. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “35" of the Complaint.

36. The Defendant denies the truth of each and every allegation set forth in
paragraph “36" of the Complaint, except admits that the Suffolk County Police Department has taken
possession, custody of certain property as either the stolen proceeds of crime or evidence ofa crime
and that upon taking possession of such property it provides a receipt.

37. The Defendant denies the truth of each and every allegation set forth in

paragraph “37" of the Complaint.

 
38. The Defendant denies the truth of each and every allegation set forth in
paragraph “38"(a)-(e) of the Complaint.

39. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “39" of the Complaint.

40. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “40" of the Complaint.

41. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “41" of the Complaint.

42. | The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “42"(a)-(e) of the Complaint.

43. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of each and every allegation set forth in paragraph “43" of the Complaint, except
specifically avers that the Suffolk County Police Department provides any precious metal and gem
exchange establishment with a receipt for any items seized as either stolen property or evidence of
a crime.

44. The Defendant denies the truth of each and every allegation set forth in
paragraph “44" of the Complaint.

45. The Defendant denies the truth of each and every allegation set forth in
paragraph “45" of the Complaint, requests leave to refer to the receipt annexed as Exhibit “p to the
Plaintiffs’ complaint at the time of trial as to its true meaning, interpretation and effect, and expressly
avers that as licensees engaged in the business of collateral loan brokers as defined in Article 5 of

the New York State General Business Law, Plaintiffs are not “finders” of any item seized by the
Suffolk County Police Department.

46. The Defendant denies the truth of each and every allegation set forth in
paragraph “46" of the Complaint.

47. | The Defendant denies the truth of each and every allegation set forth in
paragraph “47" of the Complaint.

48. | The Defendant denies the truth of each and every allegation set forth in
paragraph “48" of the Complaint.

49. The Defendant denies the truth of each and every allegation set forth in
paragraph “49" of the Complaint.

50. The Defendant denies the truth of each and every allegation set forth in
paragraph “50" of the Complaint.

51. The Defendant denies the truth of each and every allegation set forth in
paragraph “51" of the Complaint, except admits that Exhibit A is a copy of an internet website page
maintained by the Suffolk County Police Department, and specifically avers that said page provides
instructions for obtaining the release of property in specific circumstances not applicable to the
Plaintiffs herein.

52. The Defendant denies the truth of each and every allegation set forth in
paragraph “52" of the Complaint, except denies knowledge and information sufficient to form a
belief as to the truth that the Plaintiffs have made efforts to demand and secure the release of seized
property.

53. The Defendant denies knowledge and information sufficient to form a belief

as to the truth of the allegation set forth in paragraph “53"(a)-(d) of the Complaint.

 
54. The Defendant denies the truth of each and every allegation set forth in
paragraph “54" of the Complaint, except denies knowledge and information sufficient to form a
belief as to what, if any demands Plaintiffs made for the release of property seized by either the
Suffolk County Police Department and/or the Suffolk County District Attorney’s Office, and
specifically avers that any proper seized was either stolen property or evidence of a crime to which
the Plaintiffs never acquired title or ownership to which they are not entitled to seek the return.

55. The Defendant denies the truth of each and every allegation set forth in
paragraph “55" of the Complaint, except denies knowledge and information sufficient to form a
belief as to what, if any demands Plaintiffs made for the release of said property, and specifically
avers that as they never acquired title or ownership of stolen property, they have no right to demand
its return.

56. | The Defendant denies the truth of each and every allegation set forth in
paragraph “56" of the Complaint, except denies knowledge and information sufficient to form a
belief as to what, if any demands Plaintiffs made for the release of said property, and specifically
avers that as they never acquired title or ownership of stolen property, they have no right to demand
its return.

57. The Defendant denies the truth of each and every allegation set forth in
paragraph “57" of the Complaint, except denies knowledge and information sufficient to form a
belief as to the contents or substance of any statements made by the named members of the Suffolk
County Police Department.

58. The Defendant denies the truth of each and every allegation set forth in

paragraph “58" of the Complaint, except denies knowledge and information sufficient to form a

 
belief as to what, if any, information the Plaintiffs requested of the named members of the Suffolk
County Police Department.

59. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of the allegation set forth in paragraph “59"(a)-(d) of the Complaint and requests leave
to refer to Exhibit “D” to the Plaintiffs’ complaint for its true meaning, interpretation and effect.

60. The Defendant denies knowledge and information sufficient to form a belief
as to the truth of the allegation set forth in paragraph “60" of the Complaint and requests leave to
refer to Exhibit “D” to the Plaintiffs’ complaint for its true meaning, interpretation and effect.

61. | The Defendant denies the truth of each and every allegation set forth in
paragraph “61" of the Complaint.

62. The Defendant denies the truth of each and every allegation set forth in
paragraph “62" of the Complaint.

AS AND FOR AN ANSWER TO THE CAUSES OF ACTION
COUNTI

63. With respect to the allegations in paragraph “63, the Defendant repeats,
reiterates and re-alleges each and every response made to the allegations set forth in paragraphs “1"
through “62" of the Complaint with the same force and effect as if each were more fully repeated
herein in its entirety.

64. The Defendant denies the truth of each and every allegation set forth in
paragraph “64"(a)-(e) of the Complaint.

65. | The Defendant denies the truth of each and every allegation set forth in
paragraph “65"(a)-(c) of the Complaint.

66. The Defendant denies the truth of each and every allegation set forth in

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paragraph “66" of the Complaint.

67. The Defendant denies the truth of each and every allegation set forth in
paragraph “67" of the Complaint.

68. The Defendant denies the truth of each and every allegation set forth in
paragraph “68" of the Complaint.

69. The Defendant denies the truth of each and every allegation set forth in
paragraph “69" of the Complaint.

70. The Defendant denies the truth of each and every allegation set forth in
paragraph “70" of the Complaint.

AS AND FOR AN ANSWER TO THE CAUSES OF ACTION
COUNT II

71. | With respect to the allegations in paragraph “71", the Defendant repeats,
reiterates and re-alleges each and every response made to the allegations set forth in paragraphs “1"
through “70" of the Complaint with the same force and effect as if each were more fully repeated
herein in its entirety.

72. The Defendant denies the truth of each and every allegation set forth in
paragraph “72"(a)-(e) of the Complaint.

73. The Defendant denies the truth of each and every allegation set forth in
paragraph ““73"(a)-(c) of the Complaint.

74. The Defendant denies the truth of each and every allegation set forth in
paragraph “74" of the Complaint.

75. The Defendant denies the truth of each and every allegation set forth in

paragraph “75" of the Complaint.

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76. The Defendant denies the truth of each and every allegation set forth in
paragraph ““76" of the Complaint.

77. The Defendant denies the truth of each and every allegation set forth in
paragraph “77" of the Complaint.

78. The Defendant denies the truth of each and every allegation set forth in
paragraph “78" of the Complaint.

AS AND FOR AN ANSWER TO THE CAUSES OF ACTION
COUNT Ii

79. With respect to the allegations in paragraph “79", the Defendant repeats,
reiterates and re-alleges each and every response made to the allegations set forth in paragraphs “1"
through “78" of the Complaint with the same force and effect as if each were more fully repeated
herein in its entirety.

80. | The Defendant denies the truth of each and every allegation set forth in
paragraph “80" of the Complaint, and refers all questions of law to this honorable Court for
determination upon the trial of this Court.

81. | The Defendant denies the truth of each and every allegation set forth in
paragraph “81" of the Complaint.

82. The Defendant denies the truth of each and every allegation set forth in
paragraph “82" of the Complaint.

AS AND FOR AN ANSWER TO THE CAUSES OF ACTION
COUNT IV

83. With respect to the allegations in paragraph “83", the Defendant repeats,

reiterates and re-alleges each and every response made to the allegations set forth in paragraphs “1"

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through “82" of the Complaint with the same force and effect as if each were more fully repeated
herein in its entirety.
84. The Defendant denies the truth of each and every allegation set forth in
paragraph “84" of the Complaint.
85. | The Defendant denies the truth of each and every allegation set forth in
paragraph “85" of the Complaint.
86. | The Defendant denies the truth of each and every allegation set forth in
paragraph “86" of the Complaint.
AS AND FOR A FIRST AFFIRMATIVE DEFENSE
87. Plaintiffs fail to state a cause of action upon which relief can be granted.
AS AND FOR A SECOND AFFIRMATIVE DEFENSE
88. Plaintiffs fail to state a cause of action upon which relief can be granted and
they have failed to exhaust their administrative and state remedies.
AS AND FOR A THIRD AFFIRMATIVE DEFENSE
89. Because any item of property seized by the Suffolk County Police Department
and/or the Suffolk County District Attorney’s Office was confiscated as stolen property, Plaintiffs
never acquired title or ownership in any of the property seized and accordingly, the Complaint fails
to state a cause of action.
AS AND FOR A FOURTH AFFIRMATIVE DEFENSE
90. Plaintiffs’ claims are barred in whole or part by the Statute of Limitations.
AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

91. Each of Plaintiffs’ claims are barred by the Younger Abstention Doctrine (41

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U.S. 37).
AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

92. None of the actions complained of herein were taken pursuant to official
policy custom or practice of the County and accordingly, the Complaint fails to state a cause of
action upon which relief can be granted.

AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

93. Plaintiffs have sustained no damages, and in any event has failed to mitigate

any damages allegedly sustained.
AS AND FOR A EIGHTH AFFIRMATIVE DEFENSE

94. Plaintiffs’ claims are barred in whole or part to the extent that the County

Defendant’s actions were not the proximate cause of the harms alleged.
AS AND FOR A NINTH AFFIRMATIVE DEFENSE

95. Pursuant to the Monell Doctrine, the County cannot be held liable for the acts
of its employees solely on the basis of respondeat superior in a 42 U.S. §1983 action and,
consequently, the County cannot be liable for the acts or conducts of any individual employee, as a
matter of law.

AS AND FOR A TENTH AFFIRMATIVE DEFENSE

96. At all relevant times, the County Defendant acted in good faith and in full

accordance of the law.
AS AND FOR A ELEVENTH AFFIRMATIVE DEFENSE
97. The actions complained of were reasonable and in full accord with applicable

law and constituted valid limited exercise of the defendant’s police powers.

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AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE
98. Theactions of the County were justified, undertaken in good faith and without
malicious intent, and were at all times within the scope of their authority in accordance with all
Federal, State and Local laws, rules and law regulations.
AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE
99. Pendent, supplemental and/or other jurisdiction should not be exercised over
any of Plaintiffs’ state law claims.
AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE
100. Plaintiffs’ claims are unsuitable for declaratory relief.
AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE
101. Plaintiffs have failed to comply with Suffolk County Code Chapter 563 and,
therefore, the complaint fails to state a cause of action upon which relief can be granted.
AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE
102. Plaintiffs’ alleged violations of their constitutional rights fail to state a claim
for relief as they possess neither a protected property right in any of the property to which the
Defendant took custody of nor a liberty interest.
WHEREFORE, the County Defendant respectfully requests that Plaintiffs’ Complaint be

dismissed in its entirety with prejudice, and for such other and further relief as this Court deems just

and proper.

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Dated: Garden City, New York

TO:

April 23, 2019

ANDREW J. CAMPANELLI, ESQ.

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Yours, etc.

BERKMAN, HENOCH, PETERSON, PEDDY
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By: ___s/ Joseph E. Macy
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